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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA
                    VS                                                 CASE NO. 1:00-CR-38-03 MMP
      JIN SHUANG ZHENG

                                FINANCIAL REFERRAL AND ORDER

Regarding release of funds for: X Fine,          Restitution,      Filing Fee,       Attorney Admission Fee,
   Copy Fee,     Bond,      Other (Specify)

By:      Jin Shuang Zheng #11298-017                         (Payee)
Address: FCI Danbury
         Route 37
         Danbury, CT 06811

Receipt Number 802-108004-03                 Date of Receipt        7/15/05

Motion: N/A

Explanation: A review of the payment records for Ms. Zheng indicates an overpayment of $25.00.
According to the court dockets and financial records, Ms. Zheng does not owe any additional money and
should be reimbursed $25.00. Requesting authorization to refund the $25.00 and any additional money
received through the Bureau of Prisons for this case.


WILLIAM M. McCOOL, Clerk of Court

Prepared by: ___s/Philip Detweiler___________
             Philip Detweiler, Financial Specialist                    Date: July 26, 2005

Referred by:                                 ,Deputy Clerk

                                            ORDER OF COURT

It is ORDERED this       27th      day of      July             , 2005, that the Clerk refund the identified
funds to the payee.


                                                                 s/Maurice M. Paul

                                                      MAURICE M. PAUL, SENIOR
                                                      UNITED STATES DISTRICT JUDGE


Adopted: 12/03/99
